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                                                     Exhibit A
                                               Statement of Claim
                                          Plaintiff Brackie Beau Bryant

Unpaid Overtime Wages
                                   Average
                                                Average        Regular           Overtime          Total          Total
                                   Weekly
      Period¹             Weeks¹                 Weekly       Hourly Rate         Hourly          Unpaid       Liquidated
                                    Hours
                                               Pay Earned¹      Paid¹             Rate¹          Overtime¹     Damages¹
                                   Worked¹
  4/1/14   -   4/27/14     3.86      69       $      660.00   $       9.57   $       14.35   $       534.97   $     534.97
 4/28/14   -   5/31/14     4.86      69       $      780.00   $      11.30   $       16.96   $       796.15   $     796.15
  6/1/14   -   9/30/14    17.43      69       $    1,204.69   $      17.46   $       26.19   $     4,412.20   $   4,412.20
 10/1/14   -   10/31/14    4.43      59       $    1,204.69   $      20.42   $       30.63   $       859.03   $     859.03
 11/1/14   -   2/28/15    17.14     51.23     $    1,100.98   $      21.49   $       32.24   $     2,068.66   $   2,068.66
  3/1/15   -   3/7/15      1.00      48       $    1,010.98   $      21.06   $       31.59   $        84.25   $      84.25
                                                                                             $     8,755.26   $   8,755.26

                                                                       Total Unpaid Overtime Wages¹ = $ 8,755.26
                                                                          Total Liquidated Damages¹ = $ 8,755.26
                                                                                              Total¹ = $ 17,510.51


Unpaid Minimum Wages
                                   Average                    FLSA
                                                                       Total Unpaid     Total
                                   Weekly                    Minimum
      Period¹             Weeks¹              Amount Paid¹               Minimum     Liquidated
                                    Hours                  Wage Hourly
                                                                         Wages¹       Damages
                                   Worked¹                    Rate¹
  1/1/00 - 1/7/00          1.00       9       $       -    $      7.25 $      65.25 $      65.25
                                                                       $      65.25 $      65.25

                                                        Total Unpaid Minimum Wages¹ = $               65.25
                                                           Total Liquidated Damages¹ = $              65.25
                                                                               Total¹ = $            130.50




                                                                             Total¹ = $                      17,641.01




¹ Numbers are averages, estimates, and/or approximates. Time and payroll records are in the possession and/or control of
Defendants. The amount of damages claimed in this statement of claim, and the amount of damages claimed in the
Complaint, may change as information is uncovered through the discovery process.
